 Case 1:15-cv-00631-JTN-PJG ECF No. 33 filed 11/13/15 PageID.110 Page 1 of 2



                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


JOSHUA ALGER, # 376096,             )
                                    )
                  Plaintiff,        )                Case No. 1:15-cv-631
                                    )
v.                                  )                Honorable Robert Holmes Bell
                                    )
MUSKEGON COUNTY SHERIFF’S           )                DISCOVERY ORDER
DEPARTMENT, et al.,                 )
                                    )
                  Defendants.       )
____________________________________)


       This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983. On October

6, 2015, defendants served a notice of deposition on plaintiff. (ECF No. 20). The notice advised

plaintiff that his deposition was scheduled for October 23, 2015. (ECF No. 30-2, PageID.85-86).

On October 22, 2015, plaintiff filed a document labeled as an objection to the notice of his

deposition. (ECF No. 22). He objected on religious grounds to having his deposition taken on a

Friday. Defendants attempted to accommodate plaintiff and served an amended notice scheduling

his deposition for Tuesday, November 10, 2015. (ECF No. 30-2, PageID.87-88). Plaintiff

responded by filing an objection to the amended notice. (ECF No. 27). Plaintiff stated that he

would refuse to have his deposition taken on November 10, 2015, because he felt that his mental

state was “fragile” and that he might suffer a nervous breakdown under questioning. Plaintiff

unilaterally refused to allow defendants to take his deposition on November 10, 2015. Plaintiff’s

deposition is currently scheduled for Thursday, November 19, 2015. (ECF No. 30-4, PageID.104-

05). Plaintiff elected to bring this lawsuit. He voluntarily subjected himself to all its attendant
 Case 1:15-cv-00631-JTN-PJG ECF No. 33 filed 11/13/15 PageID.111 Page 2 of 2



burdens. He cannot avoid having his deposition taken. Plaintiff’s motions (ECF No. 22, 27) are

DENIED.

       IT IS ORDERED that plaintiff must appear for his deposition on Thursday, November 19,

2015, in accordance with the Third Amended Notice of Taking Deposition. (ECF No. 30-4,

PageID.104-05). Plaintiff is expressly warned that his failure to appear and participate in his

deposition will likely result in Rule 37(b) sanctions, including the possible dismissal of this lawsuit

with prejudice.

       IT IS SO ORDERED.


Date: November 13, 2015                                 /s/ Phillip J. Green
                                                       PHILLIP J. GREEN
                                                       United States Magistrate Judge




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